                                    UNITED STATES DISTRICT COURT
                Case 2:21-mj-16167-MF Document 2 Filed 06/08/21 Page 1 of 1 PageID: 19
                                                              for the
                                                       District of New Jersey

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                                                                                               Mark Falk

              UNITED STATES OF AMERICA
                                                 Plaintiff              &$6(12.BBBBBBBBBBBBBBBBBBBBBBB
                                                                                 21-16167

                               v.                                                             June 8, 2021
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                          SHAWN PRICE
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              Initial Appearance - Rule 5
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